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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Southern Division

ALAN CHRISTOPHER MARTIN,              :
                                      :
      Plaintiff                       :
                                      :
      v.                              :            Civil Action No.: 8:17-cv-00911-PJM
                                      :
FMS FINANCIAL SOLUTIONS, LLC, et al., :
                                      :
      Defendants                      :

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties herein, by and through counsel, stipulate that the above-entitled matter be

entered as dismissed, with prejudice as to all claims against Defendant, Equifax Information

Services LLC. Each party will pay their own costs, expenses and attorney fees.

Dated: November 2, 2017

                                     Respectfully submitted,

	  

/s/ Courtney L. Weiner                             /s/ Nathan D. Adler
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Attorney for Plaintiff                      Attorney for Defendant, Equifax Information
                                            Services, LLC
	  
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                                    CERTIFICATE OF SERVICE


        I hereby certify that November 2, 2017, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which automatically sends an electronic notification to CM/ECF

participants.




                                         /s/ Courtney L. Weiner

                                         Courtney L. Weiner




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